     Case 3:16-md-02741-VC           Document 20483          Filed 04/14/25      Page 1 of 1




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
   LIABILITY LITIGATION
                                                      Case No. 16-md-02741-VC (AGT)


   This document relates to:                          DISCOVERY ORDER

   Hayes v. Monsanto Co., 21-cv-00965-VC              Re: MDL Dkt. Nos. 20382, 20388

                                                      Related Case Dkt. Nos. 30, 33


          The Court grants defendants’ requests for a protective order. At least until the Court

  resolves Monsanto’s motion to drop the Sheffield defendants as fraudulently joined, see MDL

  Dkt. 20257; Hayes, Dkt. 26, Sheffield Utilities need not sit for a second 30(b)(6) deposition

  nor allow plaintiffs to enter its premises or Sheffield City Hall to inspect records.

          After the Court resolves Monsanto’s motion to drop, plaintiffs may renew their

  requests for more discovery from the Sheffield defendants if warranted.

       IT IS SO ORDERED.

Dated: April 14, 2025


                                                             ALEX G. TSE
                                                             United States Magistrate Judge




                                                  1
